Case 2:04-cr-20192-.]P|\/| Document 56 Filed 08/08/05 Page 1 of 5 Page|D 75

UNITED STATES DISTRICT COURT F“_ED Bv ____ D_C.
WESTERN DlSTRlCT OF TENNESSEE w
MEMPHls DlvlsloN 05 hug __8 PH 3, \\,
UNITED STATES OF AMERICA M M_ GOU_[)
FK U.S. §§Sfl'~ll_@'l COURT
-v- 2:04CR20192-01 - \p‘r,.f@ lf‘-;~" T_;l;§zlp§'lls

JAMES TRENELL
Juni ('.-Eangulil CJA
Defense Attorney
80 Monroe, Suite 450
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on October 15, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tiue & section Mfw Offense Numberlsl
Concluded
18 U.S.C. § 922(d) Transfer of Firearm to Convicted Fe|on 01/25/2004 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 02/07/1969 August 5, 2005
Deft’s U.S. Marsha| No.: 13177-076

Defendant’s |V|ai|ing Address:
4585 Hudgins #1

…N /e\@lll/lll

N PH|PPS MCCALLA
U |TED ATES D|STR|CT JUDGE

/
August § , 2005

Thls document entered on the docket sheet in complies
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with auto ss ami/or sz(b) rnch on f ? id __

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Case No: 2:04CR20192-01-M| Defendant Name: James TRENELL Page 2 of 4
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 84 Months (or 7 Years).

The Court recommends to the Bureau of Prisons: The defendant be allowed to
participate in the 500-hour intensive treatment program while incarcerated

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |Vlarsha|

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Case No: 2:04CR20192-01-M| Defendant Name: James TRENELL Page 3 of 4

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten{10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphema|ia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a

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law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised reiease

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Ofticer.

2. The defendant shall cooperate with DNA collection as directed by the Probation Officer.

3. The defendant shall seek and maintain full-time employment

CR|M|NAL MONETARY PENALTiES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Tota| Fine Tota| Restitution
$100.00

The Special Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED sTATE DISTRIC COUR - WETER DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20192 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed

 

 

David Pritchard

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

